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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA



   IN RE:     CHINESE-MANUFACTURED                           MDL No. 2047
              DRYWALL PRODUCTS
              LIABILITY LITIGATION                           Section “L” (5)

   This Document Relates to:                                 Judge Fallon
            2:13-cv-00609
                                                             Magistrate Judge North



                                            ORDER

       Considering the foregoing Motion to Enroll as Counsel of Record, R. Doc. 23212:

       IT IS ORDERED that the motion is GRANTED and that Kevin A. Malone is enrolled as

counsel of record for Plaintiff Raymond Rodriguez in the above-captioned matter.



       New Orleans, Louisiana, this 19th day of October, 2021.




                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE
